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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


MARSHALL W. COLLINS, GARY                  Civil Action No. 11-cv-1288 (JSR)
DANNENBERG, THEODORE M. KOLER,
SIMON SALO AND ELMER WALKER,
Individually and on Behalf of All Others   CLASS ACTION
Similarly Situated,

                    Plaintiffs,

vs.

OILSANDS QUEST INC. (f/k/a CANWEST
PETROLEUM CORPORATION),
CHRISTOPHER H. HOPKINS, T. MURRAY
WILSON, KARIM HIRJI, GARTH WONG,
RONALD PHILLIPS, THOMAS MILNE,
GORDON TALLMAN, WILLIAM SCOTT
THOMPSON, PAMELA WALLIN, JOHN
READ, McDANIEL & ASSOCIATES
CONSULTANTS LTD.,
                    Defendants.




               LEAD PLAINTIFFS’ NOTICE OF MOTION AND
            MOTION FOR: (1) FINAL APPROVAL OF SETTLEMENT
         AND PLAN OF DISTRIBUTION OF NET SETTLEMENT FUND;
       AND (2) AWARD OF ATTORNEYS’ FEES AND REIMBURSEMENT OF
                         LITIGATION EXPENSES
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TO: ALL PARTIES AND THEIR ATTORNEYS OF RECORD

       PLEASE TAKE NOTICE that on June 14, 2014, at 3:00 p.m., at the United States

District Court for the Southern District of New York, Daniel Patrick Moynihan United States

Courthouse, 500 Pearl Street, New York, New York, or as soon thereafter as counsel may be

heard before the Honorable Jed S. Rakoff, United States District Judge, Lead Plaintiffs will, and

hereby do, move for orders and/or judgments: (1) finally approving the settlement of this class

action and dismissing the litigation with prejudice and approving the Plan of Distribution of Net

Settlement Funds; (2) awarding Lead Counsel attorneys’ fees of 30% of the Settlement Fund plus

expenses, plus interest on both amounts; (3) awarding Lead Plaintiffs reimbursement of expenses

(including lost wages) in a total amount of $20,000.

       Lead Plaintiffs’ motion is based upon: (1) Lead Plaintiffs’ Memorandum of Law in

Support of Motion for Final Approval of Class Action Settlement and Plan of Distribution of

Net Settlement Fund; and (2) Lead Plaintiffs’ Memorandum of Law in Support of Application

for an Award of Attorneys’ Fees and Reimbursement of Expenses, the declarations submitted in

support thereof, the Settlement Agreement, all other pleadings and matters of record, and such

additional evidence or argument as may be presented in Lead Plaintiffs’ motion or at the hearing

on Lead Plaintiffs’ motion.

Dated: May 23, 2013                          Respectfully submitted,
                                              /s/ Judith S. Scolnick
                                             JUDITH S. SCOLNICK (JS-0827)
                                             BETH A. KASWAN
                                             SCOTT+SCOTT, ATTORNEYS AT LAW, LLP
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                                             405 Lexington Avenue, 40th Floor
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                            AND

                            DAVID R. SCOTT
                            AMANDA LAWRENCE
                            SCOTT+SCOTT, ATTORNEYS AT LAW, LLP
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                            Colchester, CT 06415
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                                   alawrence@scott-scott.com

                            Counsel for Plaintiffs




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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 23, 2013, I caused the foregoing to be electronically filed

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to the e-mail addresses denoted on the Electronic Mail Notice List, and I hereby certify that I

caused the foregoing document or paper to be mailed via the United States Postal Service to the

non-CM/ECF participants indicated on the Manual Notice List.

       I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on May 23, 2013.



                                                     /s/ Judith S. Scolnick
                                                    JUDITH S. SCOLNICK (JS-0827)
                                                    SCOTT+SCOTT
                                                    ATTORNEYS AT LAW, LLP
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                                                    Counsel for Plaintiffs




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